
MOORMAN, Judge:
The appellant, James I. Evans, through counsel, appeals an April 17, 2008, Board of Veterans’ Appeals (Board) decision that denied his claim of entitlement to service connection for the residuals of a collapsed lung, remanded his claims of entitlement to service connection for a back disorder and to a compensable evaluation for residuals of a fractured distal left fibular shaft, and effectively dismissed his claims for asbestos exposure, hepatitis B, and hepatitis C. Record (R.) at 3-4. On January 28, 2011, this panel issued a decision reversing in part the April 17, 2008, decision and remanding for further proceedings. On February 16, 2011, the Secretary filed a motion for partial reconsideration of the January 28, 2011, decision. At the Court’s invitation, on March 31, 2011, the appellant filed a response in opposition to partial reconsideration.
The Court concludes that reconsideration is warranted based upon the Secretary’s compelling argument that the Court’s January 2011 opinion, read broadly, held that the Secretary waives his ability to dismiss claims if a claimant uses VA Form 9 and checks Box A of Block 9, indicating that he wishes to appeal all issues listed in the Statement of the Case (SOC), and must adjudicate all issues listed in the SOC even where the evidence of record may also indicate that the claimant wished to limit his appeal to certain issues. Accordingly, the Court will grant the Secretary’s motion for partial reconsideration, withdraw the Court’s January 28, 2011, opinion, and issue this opinion in its stead.
This appeal is timely, and the Court has jurisdiction over the case pursuant to 38 U.S.C. §§ 7252(a) and 7266. The appellant does not present any argument concerning the denial of his claim for the residuals of a collapsed lung. Accordingly, that claim is deemed abandoned. See Ford v. Gober, 10 Vet.App. 531, 535 (1997). In addition, the Court will not discuss the claims remanded by the Board, as the Court does not have jurisdiction over them and the appellant makes no argument with respect to them. See Link v. West, 12 Vet.App. 39, 47 (1998); Marlow v. West, 11 Vet.App. 53, 55 (1998). For the reasons set forth below, the Court will vacate the April 17, 2008, Board decision as to its dismissal of the appellant’s claims of entitlement to service connection for asbestos exposure, hepatitis B, and hepatitis C and remand those matters for further proceedings consistent with this opinion. However, the Court will dismiss the appellant’s appeal as to his claims for memory loss, migraines, and plantar fasciitis that were not the subject of the Board decision on appeal.
I. BACKGROUND
The appellant served on active duty in the U.S. Army from August 1968 until August 1970. R. at 573.
In July 2003, the appellant filed a claim with the St. Petersburg, Florida, regional office (RO), seeking entitlement to service connection for a back condition, bilateral wrist conditions, hepatitis C, carpal tunnel syndrome, a collapsed lung, drug addic*9tion, and a lung condition due to asbestos exposure. R. at 484-85. The appellant also sought a compensable rating for his service-connected distal left fibular shaft fracture and the reopening of a previously denied claim for a forehead injury. R. at 484. At a later date, the appellant added claims for an eye condition, hepatitis B, a stab wound to the chest, and a heart condition. R. at 448, 450.
In February 2004, the RO issued a rating decision that disposed of 16 separate claims. R. at 891. Within that decision, the RO continued the appellant’s noncompensable rating for his fibular shaft fracture, denied entitlement to a non-service-connected pension, and also denied reopening of the appellant’s claim for the residuals of a forehead injury. R. at 391. The decision further denied entitlement to service connection for an eye condition, the residuals of a stab wound to the chest, the residuals of a collapsed lung, asbestos exposure, heart trouble, drug and alcohol addiction, hepatitis B and C, a back disability, carpal tunnel syndrome, a scar on the left wrist, and bilateral plantar fasciitis. Id. The appellant timely filed a Notice of Disagreement (NOD) to the RO’s decision with respect to his claims for asbestos exposure, a back disability, a collapsed lung, hepatitis B and C, and his distal left fibular shaft fracture. R. at 379-84. The appellant also raised new claims for a neck condition, migraines, and memory loss. Id. However, the appellant did not express any disagreement with the other ten claims decided by the RO in the February 2004 decision. Id.
In September 2004, the RO issued an SOC with respect to the six claims referenced in the appellant’s NOD. R. at 311-31. The RO also issued a rating decision with respect to the appellant’s newly filed claims for a neck condition, migraines, and memory loss. R. at 334-39. The record before the Court does not reflect that the appellant filed an NOD with respect to the September 2004 rating decision; however, using a VA Form 9,1 the appellant filed a Substantive Appeal to the Board in November 2004 concerning the “issues” outlined in the September 2004 SOC. R. at 309-10. On his Form 9, the appellant cheeked Box A within Block 9, which stated: “I WANT TO APPEAL ALL OF THE ISSUES LISTED ON THE STATEMENT OF THE CASE AND ANY SUPPLEMENTAL STATEMENTS OF THE CASE THAT MY LOCAL VA OFFICE SENT TO ME.” R. at 309. Box B within Block 9 is to be completed only if the claimant is appealing some but not all of the issues on the SOC. Id. Below Box B is a space for the claimant to list the issues he wishes to appeal. Although the appellant did not check Box B within Block 9, in the space provided below Box B of Block 9 on the same Form 9, the appellant specifically listed the RO’s denial of his claims for an increased rating for his service-connected fractured distal fibular shaft and denial of his claims for a back injury and residuals of a collapsed lung. Id.
In the decision now on appeal, the Board fully addressed the three “issues” specifically outlined in the appellant’s Form 9 in the blank space below Box B in Block 9 and further in Block 10; however, the Board dismissed the appellant’s claims for (or issues of) asbestos exposure, hepatitis B, and hepatitis C. The Board, in the *10decision on appeal, observed that the appellant had originally included these issues in his appeal. It then stated
However, in his October 2004 VA Form 9, the veteran stated that he was only appealing the issues of entitlement to service connection for a back disorder and residuals of a collapsed lung and for an increased evaluated (sic) for his residuals of a fractured distal left fibular shaft. As such, the veteran has not filed a [S]ubstantive [A]ppeal for the other issues. See 38 C.F.R. § 20.202.
R. at 4.
II. ANALYSIS
A. The Court’s Jurisdiction
In his brief to the Court, the appellant argues that the Board erred by not adjudicating his claims of entitlement to service connection for asbestos exposure, hepatitis B, hepatitis C, memory loss, migraines, and bilateral plantar fasciitis. Appellant’s Brief (Br.) at 7. Specifically, he asserts that the Court’s caselaw required the Board to liberally read his Form 9 Substantive Appeal and to address all issues possibly raised within that appeal. Id. at 20-24. The Secretary counters that the Court lacks jurisdiction over the appellant’s asbestos, hepatitis, memory loss, migraine, and plantar fasciitis claims because those claims were never properly raised before the Board. Secretary’s Br. at 7. In support of this contention, the Secretary argues that, under 38 U.S.C. § 7105(d)(5), 38 C.F.R. § 20.202, and this Court’s caselaw, the Board was free to dismiss claims where the appellant did not allege some error committed by the RO. Id. at 7-10.
The Court’s appellate jurisdiction derives exclusively from the statutory grant of authority provided by Congress, and the Court may not extend its jurisdiction beyond that which is permitted by law. Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 818, 108 S.Ct. 2166, 100 L.Ed.2d 811 (1988); see Henderson v. Shinseki, — U.S. -, 131 S.Ct. 1197, 179 L.Ed.2d 159 (2011). Congress has established that the Court “shall have power to affirm, modify, or reverse a decision of the Board or to remand the matter, as appropriate.” 38 U.S.C. § 7252(a). Consequently, the Court’s “jurisdiction is premised on and defined by the Board’s decision concerning the matter being appealed,” and when the Board has not rendered a decision on a particular issue, the Court generally has no jurisdiction under section 7252(a) to consider the merits of the matter. Ledford v. West, 136 F.3d 776, 779 (Fed.Cir.1998); see also Howard v. Gober, 220 F.3d 1341, 1344 (Fed.Cir.2000). Nonetheless, the Court exercises de novo review over Board determinations that are critical to its jurisdiction. See Stokes v. Derwinski, 1 Vet.App. 201, 203-204 (1991) (finding that the Court may find facts “crucial to the proper determination of whether this Court has jurisdiction”); see also Butts v. Brown, 5 Vet.App. 532, 539 (1993) (en banc) (Court reviews “questions of law de novo without any deference to the [Board’s] conclusions of law”). The Court reviews do novo whether a document constitutes a Substantive Appeal. Gibson v. Peake, 22 Vet.App. 11, 15 (2007).
1. Claims (Issues) Dismissed by the Board
The Court has the power to review the Board’s refusal to exercise its jurisdiction. Butts, supra. In this case, the Court has jurisdiction to determine whether the Board acted properly in dismissing the appellant’s claims for asbestos exposure, hepatitis B, and hepatitis C pursuant to 38 U.S.C. § 7105 and VA’s implementing regulation, 38 C.F.R. § 20.202. For the reasons discussed below, the Court concludes that the Board failed to provide an ade*11quate statement of reasons or bases for its conclusion that the appellant had not filed a Substantive Appeal on three of the six issues that were identified on his NOD and the RO’s SOC.
Pursuant to section 7105, the filing of an NOD initiates appellate review in the VA administrative adjudication process, and the request for appellate review is completed by the claimant’s filing of a Substantive Appeal, after an SOC is issued by VA. 38 U.S.C. § 7105(a), (d)(1), (d)(3); see Archbold v. Brown, 9 Vet.App. 124,132 (1996); Rowell v. Principi, 4 Vet.App. 9, 14 (1993). The statute states in relevant part that
Copies of the “statement of the case” prescribed in paragraph (1) of this subsection will be submitted to the claimant and to the claimant’s representative.... The claimant will be afforded a period of sixty days from the date the statement of the case is mailed to file the formal appeal. This may be extended for a reasonable period on request for good cause shown. The appeal should set out specific allegations of error of fact or law, such allegations related to specific items in the statement of the case. The benefits sought on appeal must be clearly identified.
38 U.S.C. § 7105(d)(3). It is well established that the Board must review all issues and theories that are reasonably raised by the claimant or the evidence of record. See generally Robinson v. Peake, 21 Vet.App. 545 (2008) aff'd sub nom. Robinson v. Shinseki 557 F.3d 1355 (Fed.Cir.2009); see also Jarrell v. Nicholson, 20 Vet.App. 326, 331-32 (2006) (en banc); Myers v. Derwinski, 1 Vet.App. 127 (1991).
The issue before the Court is whether the Board erred in determining that a claimant limits his appeal to certain specified issues when he files a VA Form 9 in which he checks the box indicating his desire to appeal “ALL OF THE ISSUES LISTED ON THE [SOC]”, but also specifies on the Form 9 arguments as to some, but not all, issues listed in the SOC.
The September 2004 SOC covered the following six issues: (1) an increased rating for the appellant’s service-connected residuals of a fractured distal left fibular shaft, (2) service connection for a back disability, (3) service connection for asbestos exposure, (4) service connection for hepatitis B, (5) service connection for hepatitis C, and (6) service connection for the residuals of a collapsed lung. R. at 313. In response to the SOC, the appellant submitted a Substantive Appeal in the form of a VA Form 9, on which he checked Box A of Block 9 indicating that he wanted to appeal “ALL OF THE ISSUES” stated in the SOC. R. at 309. However, on that same VA Form 9 in the white space below Box B (which he did not check) within Block 9, the appellant specifically listed the RO’s denial of his claims for an increased rating for his service-connected fractured distal fibular shaft and denial of service connection for a back injury and collapsed lung. Id.
This Form 9 was accepted as a Substantive Appeal, and the appellant’s case went before the Board.2 In May 2005, the appellant’s representative from a veterans service organization submitted a letter listing distal fibular shaft, back injury, and collapsed lung as the “[i]ssues [presented for [r]eview.” R. at 302. In January 2008, *12the appellant presented testimony at a Board hearing. R. at 124-152. At the outset of the hearing, the hearing officer, without further explanation, stated that: “In our prehearing conference we determined that we have three issues on appeal today, those being entitlement to service connection for a back disability, service connection for residuals of a collapsed lung, and entitlement to a compensable (increased) evaluation for residuals of a fracture of the left distal fibular tip/shaft. Is that the correctly stated issues?” The appellant replied, “That’s correct.” R. at 125. The hearing officer then concluded the hearing by asking the appellant: “Is there anything that you would like to add at this time that you don’t feel that we’ve discussed with regard to your back, your lungs or, essentially, your left ankle?” R. at 151. The appellant declined to add anything. Id.
In its April 2008 decision, the Board made no further mention of this dialog nor of the “prehearing conference” in reaching the conclusion that the appellant had limited his appeal to solely those three issues being discussed at the hearing. Notably, any statements made at the “prehearing conference” are not a part of the record before this Court. The Board noted that
the veteran’s appeal had originally included the issues of entitlement to service connection for asbestos exposure, hepatitis B, and hepatitis C. However, in his October 2004 VA Form 9, the veteran stated that he was only appealing the issues of entitlement to service connection for a back disorder and residuals of a collapsed lung and for an increased evaluation] for his residuals of a fractured distal left fibular shaft. As such, the veteran has not filed a [S]ubstantive [A]ppeal for the other issues. See 38 C.F.R. § 20.202. Accordingly, the issues of asbestos exposure, hepatitis B, and hepatitis C no longer remain in appellate status and no further consideration is required.
R. at 4.
The Board’s decision to dismiss the veteran’s appeal as to three issues relied on VA regulation 38 C.F.R. § 20.202 (Rule 202. Substantive Appeal). That regulation cites as its statutory authority, 38 U.S.C. § 7105(d)(3)-(5). Both are important to this decision. This Court has addressed both of these provisions previously, noting that the language used in section 7105(d)(5) (“may dismiss”) is permissive in nature and merely allows the Board the latitude to dismiss appeals under certain conditions. Gomez v. Principi, 17 Vet.App. 369, 372 (2003). However, dismissal is not mandated in any case. It is helpful here to start with the provisions of Rule 202, which implements section 7105:
A Substantive Appeal consists of a properly completed VA Form 9, “Appeal to Board of Veterans’ Appeals,” or correspondence containing the necessary information. If the Statement of the Case and any prior Supplemental Statements of the Case addressed several issues, the Substantive Appeal must either indicate that the appeal is being perfected as to all of those issues or must specifically identify the issues appealed. The Substantive Appeal should set out specific arguments relating to errors of fact or law made by the agency of original jurisdiction in reaching the determination, or determinations, being appealed. To the extent feasible, the argument should be related to specific items in the Statement of the Case and any prior Supplemental Statements of the Case. The Board will construe such arguments in a liberal manner for purposes of determining whether they raise issues on appeal, but the Board may dismiss any appeal which fails to allege *13specific error of fact or law in the determination, or determinations, being appealed. The Board will not presume that an appellant agrees with any statement of fact contained in a Statement of the Case or a Supplemental Statement of the Case which is not specifically contested. Proper completion and filing of a Substantive Appeal are the last actions the appellant needs to take to perfect an appeal.
38 C.F.R. § 20.202 (2004 &amp; 2010) (emphasis added).
The regulation states in pertinent part that the Substantive Appeal “should set out specific arguments” and “to the extent feasible, the arguments should be related to specific items in the [SOC].” The regulation further states: “The Board will construe such arguments in a liberal manner for purposes of determining whether they raise issues on appeal” while noting that the “Board may dismiss any appeal which fails to allege specific errors of fact or law....” Id. In this portion of the regulation, the Board is directed to assume the affirmative obligation of construing the arguments in a liberal (pro-veteran) manner. And, the regulation only then notes the permissive option of dismissal if “any appeal ... fails to allege specific error.”
The problem in the case before the Court is that the appellant created an ambiguity by checking the box in Block 9 indicating that he wanted to appeal all of the issues identified in the SOC and also inserted in the same Block 9 specific mention of three specific issues. This created a situation not contemplated by the instructions accompanying this form. The instructions for completion of Block 9 stated the following:
Block 9. Save what you want to tell us about why you are appealing for the next block. This is the block where you tell us exactly what you are appealing. You do this by identifying the “issues” you are appealing. Your local VA office has tried to accurately identify the issues and has listed them on the SOC and any SSOC it sent you. If you think that your local VA office has correctly identified the issues you are appealing and, after reading the SOC and any SSOC you received, you still want to appeal its decisions on all those issues, check the first box in block 9. Do not check the second box if you check the first box.
Cheek the second check box in block 9 if you only want to continue your appeal on some of the issues listed on the SOC and any SSOC you received. List the specific issues you want to appeal in the space under the second box. While you should not use this form to file a new claim or to appeal new issues for the first time, you can also use this space to call the [Board’s] attention to issues, if any, you told your local VA office in your Notice of Disagreement you wanted to appeal that are not included in the SOC or a SSOC. If you want to file a new claim, or appeal new issues (file a new Notice of Disagreement), do that in separate correspondence.
Attachment at 4-5 (boldface emphasis added). Thus, in completing his VA Form 9, this appellant created ambiguity in regard to the issues he was appealing. He checked Box A in Block 9, did not check Box B in Block 9 (which states an intention to appeal only certain listed issues), and then in the remaining free space in Block 9, which appears to be intended for use only in limited appeals for which Box B is checked, he inserted comments concerning only three issues.
In analyzing the circumstances presented by the ambiguity created here *14with respect to the Substantive Appeal, the Court notes significant principles that the Board failed to consider and apply. First, this Court has long taken the position that VA must not confine its review of a document from a pro se claimant to the four corners of the document itself. See, e.g., Douglas v. Derwinski, 2 Vet.App. 435, 439 (1992) (discussing this principle in the context of a Form1-9 Substantive Appeal). Second, there is a “basic principle of the VA claims process that claims will be processed and adjudicated in an informal, nonadversarial atmosphere, and that to ensure a just outcome under this rubric VA will assist claimants in many ways.” Id.; EF v. Derwinski, 1 Vet.App. 324, 326 (1991) (stating that although the arguments made in a Form 1-9 appeal to the Board often frame the nature of that appeal: “there is nothing magical about the statements actually on the 1-9 form, given the VA’s non-adversarial process. The VA’s statutory ‘duty to assist’ must extend this liberal reading to include issues raised in all documents or oral testimony submitted prior to the B[oard] decision.”). In this regard, the Board has an obligation to read pro se filings liberally. See Comer v. Peake, 552 F.3d 1362, 1368 (Fed.Cir.2009); Andrews v. Nicholson, 421 F.3d 1278, 1282-84 (Fed.Cir.2005); Roberson v. Principi, 251 F.3d 1378, 1380-84 (Fed.Cir.2001). This obligation also applies to filings made by represented appellants in their direct appeals to the Board. Robinson v. Shinseki, 557 F.3d 1355, 1359 (Fed.Cir.2009).
Third, the Secretary promulgated a regulation, 38 C.F.R. § 20.101(d), directing the Board to seek clarification from a claimant when a claimant’s Substantive Appeal is ambiguous as to the issues raised on appeal. This regulation provides:
The Board may address questions pertaining to its jurisdictional authority to review a particular case, including, but not limited to, determining whether ... Substantive Appeals are adequate ..., at any stage in a proceeding before it, regardless of whether the agency of original jurisdiction addressed such question(s). When the Board, on its own initiative, raises a question as to a potential jurisdictional defect, all parties to the proceeding and their representative(s), if any, will be given notice of the potential jurisdictional defect(s) and granted a period of 60 days following the date on which such notice is mailed to present written argument and additional evidence relevant to jurisdiction and to request a hearing to present oral argument on the jurisdictional question^) ....
38 C.F.R. § 20.101(d).3 Rather, the Board determined, on its own initiative and without notice to the appellant, that: “the veteran has not filed a [S]ubstantive [A]ppeal for the other issues. See 38 C.F.R. § 20.202. Accordingly, the issues of asbestos exposure, hepatitis B, and hepatitis C no longer remain in appellate status and no further consideration is required.” R. at 4. VA’s own regulations, let alone a veteran-friendly, non-adversarial process, do not permit the Board ab initio to dismiss certain issues within an appeal without first affording the appellant the benefit of the procedure mandated by 38 C.F.R. § 20.101(d): to provide notice of the Board’s perceived defect in the Substantive Appeal created by a claimant’s response on the Form 9 and an opportunity to present argument and/or evidence on *15the issue of the adequacy of the Substantive Appeal.
On the facts of this case, where the appellant completed a VA Form 9 and checked Box A of Block 9 stating that “I WANT TO APPEAL ALL OF THE ISSUES LISTED ON THE STATEMENT OF THE CASE AND ANY SUPPLEMENTAL STATEMENTS OF THE CASE THAT MY LOCAL VA OFFICE SENT TO ME,” but then further completed Block 9 by listing only certain issues, the Board’s unexplained statement that the appellant had limited his appeal by the manner in which he completed his VA Form 9 constitutes error. It fails to adequately provide reasons or bases for the dismissal of the remaining issues. Faced with the ambiguity created by the appellant in the Substantive Appeal, the veteran-friendly process requires VA at the RO or Board to seek clarification and communicate with the appellant as to any perceived concern about how the appellant had filled out the Form 9. Indeed, such action would be consistent with VA’s obligation under § 20.101(d).
However, the record before the Court contains no evidence of any effort by VA to clarify whether the appellant was appealing all the issues in the SOC or only three issues. The Board failed to comply with VA’s own procedural requirements found in 38 C.F.R. § 20.101(d). This failure to notify the appellant here was prejudicial to the appellant because the appellant had no opportunity, prior to the Board decision, to present argument and/or evidence in support of his position with respect to what issues he was appealing and any errors in the RO’s adjudication of those issues. The Board summarily declared that the appellant “stated that he was only appealing the issues of entitlement to service connection for a back disorder and residuals of a collapsed lung and for an increased evaluation] for his residuals of a fractured distal left fibular shaft.” R. at 4. Yet, no such statement from the appellant can be found on any portion of the Form 9. See R. at 309.
The Court notes that the VA Form 9, Block 9, containing two apparently mutually exclusive options, together with sufficient white space that a person checking Box A in Block 9 might also add additional information in that block, invites ambiguity in a claimant’s response. That is precisely the ambiguity we deal with today. However, after the filing of this Form 9, the Board and the appellant were not powerless to limit the issues on appeal in this case. As noted above, the Board could have resolved any ambiguity by providing notice to the appellant of any potential defect in his Substantive Appeal “at any stage in a proceeding before [the Board].” 38 C.F.R. § 20.101(d). Further, the Secretary has specifically provided procedures for a withdrawal of an entire appeal or issues within an appeal, which procedures specifically require that the withdrawal be in writing. 38 C.F.R. § 20.204. Thus, the issues on appeal could have been limited if the record was clear that the appellant wished to do so. However, there is nothing in the record before the Court to make it clear that the Board hearing officer informed the appellant that the manner in which he had completed his VA Form 9 might lead to a conclusion that only three issues were on appeal.
The Secretary argues that the legislative and regulatory history of 38 U.S.C. § 7105 and 38 C.F.R. § 20.202 show that Congress never intended to relieve the claimant of the burden of “identifying] issues they wish to appeal and asserting] specific error in the administrative decision.” Secretary’s Motion for Partial Reconsideration at 2-8. He further argues that VA is not obligated to inform the claimant that *16certain issues will be deemed abandoned on appeal upon the claimant’s failure to raise an assertion of error. Neither of these arguments addresses the unique circumstances before the Court, in which the appellant’s completion of the VA Form 9 clearly engendered an ambiguity of which VA had a duty, under its own regulations, to notify the appellant and give him an opportunity to present written argument and additional evidence relevant to the issue, actions which may likely lead to clarification as to which matters are being appealed.
The comments received by VA during the development of regulations governing VA’s treatment of issues on appeal to the Board expressed concern that the regulations granted the Secretary too much discretion to unilaterally dismiss an appeal. See 48 Fed.Reg. 6961, 6964 (1983), 57 Fed. Reg. 4088, 4093 (1992). In response to those concerns, VA noted that the Board
has been, and will continue to be, very liberal in this area. This Rule of Practice also provides that “The Board will construe such arguments in a liberal manner for purposes of determining whether they raise issues on appeal ...” and § 20.203[4] provides that appellants and representatives will be given notice and an opportunity to contest the matter when the [Board] questions the adequacy of the Substantive Appeal.
57 Fed.Reg. 4088, 4093 (1992).
As noted above, VA has a multitude of avenues available to clarify the issues on appeal that are consistent with pro-veteran, claimant-friendly claim development. The entire veterans claims adjudication process reflects the clear congressional intent to create an Agency environment in which VA is actually engaged in a continuing dialog with claimants in a paternalistic, collaborative effort to provide every benefit to which the claimant is entitled. In accordance with the Secretary’s asserted position, VA not only does not engage in such a dialog, but rather need not even communicate to a veteran that he has not perfected an appeal as to certain issues he might otherwise believe are on appeal to the Board until the veteran receives that message many years later in a final Board decision. The veteran’s only remaining chance to receive an initial Board adjudication on the merits of any issue deemed abandoned by the Board is then to request Board reconsideration. However, the Board’s standard for granting reconsideration is a burdensome standard for the veteran to meet. The Chairman of the Board or his delegate has the sole discretion to choose the decisions that will be reconsidered and limits the decision to a review to the following grounds: (a) upon allegation of obvious error of fact of law; (b) upon discovery of new and material evidence; or (c) upon allegation that an allowance of benefits by the Board has been materially influenced by false or fraudulent evidence. 38 C.F.R. § 20.1000 (2011).
The Secretary further argues that the appellant “explicitly abandoned” the issues of asbestos exposure, hepatitis B, and hepatitis C during his January 2008 hearing before the Board. Secretary’s Br. at 13-14. However, it is the Board that is required to provide a complete statement of reasons or bases, and the Secretary cannot make up for its failure to do so. See *17Martin v. Occupational Safety &amp; Health Review Comm’n, 499 U.S. 144, 156, 111 S.Ct. 1171, 113 L.Ed.2d 117 (1991) (“ ‘[L]itigating positions’ are not entitled to deference when they are merely appellant counsel’s ‘post hoc rationalizations’ for agency action, advanced for the first time in the reviewing court.”). The Board does not discuss the January 2008 hearing in its decision. There is simply no indication that any statements that the appellant or his representative made at that January 2008 hearing influenced the Board’s decision. The Secretary cannot support the Board’s determination by providing reasons for the Board’s decision that were not stated by the Board.
In sum, the Board’s only explanation for its decision is the cursory statement that the appellant “stated” on the Form 9 that he intended to limit his appeal. A review of the appellant’s Substantive Appeal indicates that he did not actually state that he was limiting his appeal to three issues. The Board’s summary conclusion is inadequate because it does not provide this Court or the appellant with an explanation of how the Board considered and weighed the conflicting information on the VA Form 9. The Secretary again attempts to bolster the Board’s decision by arguing that the Board exercised its discretion under § 20.202 and dismissed the appeal as to the claims for asbestos exposure, hepatitis B, and hepatitis C because the Board determined that the Substantive Appeal did not contain any specific allegations of error of fact or law regarding these claims. In doing so, the Secretary again makes a post hoc rationalization for the Board’s decision. There is no mention in the Board decision that it was dismissing the appeal for this reason. The Board decision does not include any discussion of the specificity requirement of section 7105. Rather, the Board declared that the appellant “stated that he was only appealing [three of the six] issues in his Substantive Appeal.” The Board then concluded that the appellant limited his appeal and did not file a Substantive Appeal as to the three disputed issues.
Contrary to the Secretary’s argument, it is impossible to determine from the Board’s conclusory language that it determined that the Substantive Appeal was insufficient because it contained no specific allegations of error of fact or law. The Court expects that if the Board intends to dismiss an appeal for failure to comply with the specificity requirement of section 7105, the Board would clearly state this and explain the basis of its decision. Therefore, the Court finds the Secretary’s argument that the Board correctly dismissed the appellant’s appeal under § 20.202 unavailing. Moreover, as noted above, the Board did not discuss 38 C.F.R. § 20.101(d). These fundamental deficiencies in the Board’s statement of reasons or bases require that we vacate the Board decision that the appellant did not file a Substantive Appeal and remand the matter for readjudication.
Accordingly, the Court will vacate the Board’s dismissal of the issues of asbestos exposure, hepatitis B, and hepatitis C under 38 C.F.R. § 20.202 for failure to state adequate reasons or bases and for failure to comply with the Secretary’s own regulations and will remand the matter for appropriate action consistent with VA’s regulations. See 38 C.F.R. § 20.101(d); Robinson v. Shinseki, 557 F.3d at 1359.
2. Claims Not Addressed by the Board
To the extent that the appellant makes arguments concerning his claims for memory loss, migraines, and fasciitis, which were not decided by the Board, the Court has no jurisdiction to consider these claims on the merits absent a Board decision addressing them. See Jarrell, 20 Vet.App. *18at 331 (noting that the Board does not have jurisdiction over a claim until the RO first issues a decision on it); see also 38 U.S.C. § 7104(a). The Court notes that it is not apparent from the record that the appellant ever filed an NOD as to these claims after the RO decided them. To the extent that the appellant believes he has a pending appeal as to these claims, he should raise this issue to VA. See DiCarlo v. Nicholson, 20 Vet.App. 52, 55 (2006). If the Board determines that no timely NOD was filed or if it denies the claims on the merits, the appellant can appeal by filing a Notice of Appeal with the Court within 120 days of the Board’s decision. 38 U.S.C. § 7266(a).
B. Appellant’s Merit Argument
The Court acknowledges the appellant’s argument that VA did not meet its duty to assist with respect to his claim for service connection for a lung condition caused by asbestos exposure. Appellant’s Br. at 24. However, as this claim has not been considered on the merits by the Board, the Court will not address this issue, but will allow the Board to consider it in the first instance. See Maggitt v. West, 202 F.3d 1370, 1377 (Fed.Cir.2000) (finding that the Court “may hear legal arguments raised for the first time with regard to a claim that is properly before the court, [but] it is not compelled to do so in every instance”).
Accordingly, the Court will vacate the April 17, 2008, Board decision with respect to the appellant’s claims for asbestos exposure, hepatitis B, and hepatitis C and remand those matters for further proceedings consistent with this opinion. However, the appellant’s appeal for service connection for memory loss, migraines, and plantar fasciitis is dismissed for lack of jurisdiction because those conditions were not the subject of the Board decision now on appeal. On remand, the appellant is free to submit additional evidence and argument, including the arguments raised in his briefs to this Court, in accordance with Kutscherousky v. West, 12 Vet.App. 369, 372-73 (1999) (per curiam order), and the Board must consider any such evidence or argument submitted. See Kay v. Principi, 16 Vet.App. 529, 534 (2002). The Board shall proceed expeditiously, in accordance with 38 U.S.C. §§ 5109B, 7112 (requiring Secretary to provide for “expeditious treatment” of claims remanded by Board or Court).
III. CONCLUSION
Based on the foregoing analysis, the appellant’s and the Secretary’s briefs, and a review of the record on appeal, the Secretary’s motion for partial reconsideration is granted; the Court’s January 28, 2011, opinion is WITHDRAWN; and this opinion is issued in its stead. The Board’s April 17, 2008, decision is VACATED with respect to the Board’s dismissal of the issues of asbestos exposure, hepatitis B, and hepatitis C, and the matters are REMANDED to the Board for further proceedings consistent with this opinion. The appeal as to the appellant’s claim for service connection for memory loss, migraines, and plantar fasciitis is DISMISSED for lack of jurisdiction.

. The appellant’s VA Form 9 that was submitted by the parties as part of the record of proceedings is attached to this opinion. R. at 309. Although the printed instructions for completing the VA Form 9 were not included in the record of proceedings, the Court is attaching a copy of the full text of VA’s Form 9 including those instructions. This is the same version of the form that was submitted by the appellant.


. The record before the Court does not contain any evidence of whether all or only three of the six issues listed in the September 2004 SOC were certified by the RO as on appeal to the Board. See 38 C.F.R. § 19.35 (2011) (providing that a VA Form 8 " 'Certification of Appeal’ ... is used for administrative purposes and does not serve to either confer or deprive the Board ... of jurisdiction over an issue”).


. In Percy v. Shinseki, 23 Vet.App. 37, 45 (2009), this Court held that the statutory period with regard to filing a Substantive Appeal is discretionary and the time frame is not appropriately deemed 'jurisdictional.”


. In 2001, 38 C.F.R. § 20.203 was withdrawn and replaced with § 20.101(d), which permits the Board to "dismiss any case over which it determines it does not have jurisdiction.” 38 C.F.R. § 20.101(d); 66 Fed.Reg. 17840, 17841 (2001); 66 Fed.Reg. 53339 (2001). However, § 20.101(d) requires that the Board first provide the claimant with notice of any perceived defect of an entire Substantive Appeal and the opportunity to contest the asserted defect.

